USCA Case #24-1113               Document #2059761             Filed: 06/13/2024      Page 1 of 1
                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 24-1113                                                     September Term, 2023
                                                                        DOJ-Pub. L. No. 118-50
                                                            Filed On: June 13, 2024
TikTok Inc. and ByteDance Ltd.,

                 Petitioners

        v.

Merrick B. Garland, in his official capacity as
Attorney General of the United States,

                 Respondent


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Consolidated with 24-1130

        BEFORE:           Katsas, Rao, and Childs, Circuit Judges

                                             ORDER

      Upon consideration of the motions of Patrick Booker to intervene and the joint
motion for entry of protective order, it is

       ORDERED that the motions to intervene be denied. Booker has not
demonstrated that he has any legally protected interest that would potentially be
impaired by this litigation. See Deutsche Bank Nat. Tr. Co. v. F.D.I.C., 717 F.3d 189,
191-93 (D.C. Cir. 2013). Nor has Booker shown that he has a statutory right to
intervene or that he has a claim that shares a common question of law or fact with the
parties’ anticipated claims and defenses in these consolidated cases. It is

      FURTHER ORDERED that the protective order, as amended by the court, be
entered.

                                            Per Curiam


                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Selena R. Gancasz
                                                              Deputy Clerk
